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January 25, 2024

VIA CM/ECF
The Honorable Richard G. Andrews
United States District Court
 for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3555

       Re:        MHL Custom, Inc. v. Waydoo USA, Inc. et al.,
                  C.A. No: 21-0091-RGA

Dear Judge Andrews:

        I write to request that Waydoo’s deadline to respond to Plaintiff’s recently-filed Motion
for Permanent Injunction (D.I. 272) be extended through and including February 20, 2024. As
Your Honor is aware, both Richards, Layton & Finger and Haug Partners have sought to withdraw
as counsel due to a breakdown in the attorney-client relationship. D.I. 270. The Court has set a
hearing on the Motion to Withdraw for February 6, 2024. D.I. 271. Absent an extension,
Waydoo’s response to the Motion for Permanent Injunction is currently February 2, 2024. While
counsel has forwarded the Motion for Permanent Injunction to Waydoo by e-mail, we are not in a
position to respond to the motion on Waydoo’s behalf. Indeed, Plaintiff filed its motion without a
meet and confer, presumably because it assumed that counsel could not respond due to the pending
Motion to Withdraw.

       Counsel respectfully submits that the Motion to Withdraw should be resolved before
Waydoo is required to respond to the Motion for Permanent Injunction. Accordingly, we
respectfully request that the Court extend Waydoo’s deadline to respond to 14 days after the
Motion to Withdraw will be heard. We reached out to counsel for Plaintiff who indicated they
could not consent to this request.

      We appreciate the Court’s consideration of this request and remain available if Your
Honor has any questions.



                                                            Respectfully,
                                                            Kelly E. Farnan
                                                            Kelly E. Farnan (#4395)
cc:    All Counsel of Record (via CM/ECF)
